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                               UNITED STATES DISTRICT COURT
                                    District of Massachusetts

                                                            DOCKET NO.: 1:21-CV-11230-DPW

MICHAEL DEVINE,

Plaintiff,

v.

TOWN OF HULL, TOWN OF HULL
SCHOOL COMMITTEE, DAVID
TWOMBLY, STEPHANIE PETERS,
JENNIFER FLEMING, LUCAS
PATENAUDE, and ERIC HIPP, each in their
capacity as members of the Town of Hull
School Committee,

Defendants.

                                           WITNESS LIST

              The following is a list of witnesses Plaintiff may call at trial:

        1. Michael Devine, Green Harbor, MA 02041;

        2. Brian Mullin, Hanover, MA;

        3. Attorney Michael Long, Norwell, MA;

        4. Attorney Michael Maccaro, Braintree, MA;

        5. Sheila Blair, Hull, MA;

        6. Lori Condon, Hull, MA;

        7. Jim Quatramoni, Hull, MA;

        8. Maggie Ollerhead, Hull, MA;

        9. Dr. Stephen Mahoney, Springfield, MA;

        10. Katy Boucher, Scituate, MA;


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11. John Willis, Bridgewater, MA;

12. Deborah McCarthy, Hull, MA;

13. Nick Carton, Alexandria, VA;

14. Ernest Minelli, Hull, MA;

15. Jonathan S. Shefftz (Expert), Amherst, MA;

16. Cathleen Goncalves, Pembroke, MA;

17. Susan Cook, Vorhees, NJ;

18. Leanne Marshalsea, Weymouth, MA;

19. Tara Grosso, Hull, MA;

20. Tara Plassman, Marshfield, MA;

21. Derek Sulc, Hanover, MA;

22. Elizabeth Londergan, Hull, MA; and

23. John Guilfoil, Groveland, MA (if not called by Defendants);

24. Gregory Foley, Sr., Medford, MA (if not called by Defendants).

Plaintiff reserves the right to call any witnesses designated by Defendants and those
necessary for rebuttal.


The following is a list of witnesses Defendants may call at trial:
1. David Twombly, Hull, MA;

2. Stephanie Peters, Hull, MA;

3. Jennifer Fleming, Hull, MA;

4. Lucas Patenaude, Dorchester, MA;

5. Eric Hipp, Hull, MA;


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       6. Judith Kuehn, Norwell, MA;

       7. Ryan Hauter, Quincy, MA;

       8. John Guilfoil, Groveland, MA;

       9. Gregory Foley, Sr., Medford, MA;

       10. Tim Dalferro, Dorchester, MA;

       11. Andrea Centerino, Braintree, MA;

       12. Scott Paine, Scituate, MA; and

       13. Frederick Ryan, Arlington, MA.


Respectfully submitted,

Plaintiff, Michael Devine,
By His Counsel,

/s/ Emma S. Funnell
India L. Minchoff, Esq. (652456)                  Stephen J. Kuzma, Esq. (547522)
Emma S. Funnell, Esq. (704217)                    343 Commercial Street – Unit 210
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india@russominchofflaw.com
emma@russominchofflaw.com


Defendants,
By Their Counsel,

/s/ Deborah I. Ecker
Deborah I. Ecker, Esq. (554623)
KP Law, P.C.
101 Arch Street, 12th Floor
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Telephone (617) 556-0007
decker@k-plaw.com




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                                 CERTIFICATE OF SERVICE
       I, Emma S. Funnell, hereby certify that I have caused a copy of the foregoing document to
be served electronically on all parties who are registered participants of the Court’s ECF system,
and that I will serve by mail those parties who are non-registered participants, upon notification
by the Court of those individuals who will not be served electronically.


Dated: May 23, 2024                                         /s/ Emma S. Funnell, Esq.




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